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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v.
                                                  Case No. ____________________
MAHMOUD AL HAFYAN,
AKA ABU ABDO AL-HOMSI,

                     Defendant.

                       AFFADAVIT IN SUPPORT OF A
                CRIMINAL COMPLAINT AND ARREST WARRANT

     I, Damien T. Tymes, being first duly sworn, hereby depose and state as follows:

                              AFFIANT’S BACKGROUND

     1. This affidavit is submitted in support of a criminal complaint and application for an
        arrest warrant relating to MAHMOUD AL HAFYAN, a Syrian national last known to
        reside in Gaziantep, Turkey.

     2. I am a Special Agent (“SA”) with the United States Agency for International
        Development (“USAID”) Office of Inspector General (“OIG”) and have been since
        November 2018. Prior to working for USAID OIG, I was a Special Agent with the
        United States Air Force Office of Special Investigations (“AFOSI”) from October 2005
        to November 2018. I completed the Criminal Investigator Training Program at the
        Federal Law Enforcement Training Center (“FLETC”) in Glynco, Georgia in
        December 2005. In both capacities, I have worked on terrorism matters and
        investigations relating to persons and organizations, including designated foreign
        terrorist organizations (“FTOs”) who are interested in supporting terrorists.

     3. In preparation for this assignment, and as part of your affiant’s continuing education, I
        have successfully completed law enforcement and focused training, to include formal
        courses and training exercises related to procurement fraud, counterterrorism/counter-
        threat, and counterintelligence collections. I have participated in many aspects of
        federal investigations including, but not limited to: subject, victim and witness
        interviews, analysis of telephone and financial records, and assisting with the
        preparation and execution of arrest and/or search warrants. As a federal agent, I am
        authorized to investigate violations of the laws of the United States. As a law
        enforcement officer, I am authorized to execute warrants issued under the authority of
        the United States. I have also investigated numerous procurement fraud cases, and am

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         familiar with the search, examination, and exploitation of information obtained from
         the internet, including cellular phone, computers, the internet, electronic mail, on-line
         messaging applications, and metadata associated therewith.

      4. The facts in this affidavit come from my personal observations, my training and
         experience, and information obtained from other agents, witnesses, and agencies. This
         affidavit is intended to show only that there is sufficient probable cause for the
         requested warrant and does not set forth all of your affiant’s knowledge about this
         matter.

      5. As set forth further herein, I respectfully submit that there is probable cause to believe
         that the above-identified individual has committed the following offenses in violation
         of United States law: (a) Conspiracy to Commit an Offense Against the United States,
         in violation of 18 U.S.C. § 371; and multiple counts of (b) Theft Concerning Programs
         Receiving Federal Funds, in violation of 18 U.S.C. § 666(a)(1)(A).

                                STATUTORY PROVISIONS
      6. Title 18, United States Code, Section 371 makes it unlawful to conspire to commit any
         offense against the United States, or any agency thereof, in any manner or for any
         purpose, where one or more of such persons do any act to effect the object of the
         conspiracy.

      7. Title 18, United States Code, Section 666(a)(1)(A) makes it unlawful for an agent of
         an organization to embezzle, steal, obtain by fraud, or otherwise without authority
         knowingly convert to the use of any person other than the rightful owner property that
         is valued at $5,000 or more, and is owned by, or is under the care, custody, or control
         of such organization, provided such organization receives, in any one year period,
         benefits in excess of $10,000 under a Federal program involving a grant, contract,
         subsidy, loan, guarantee, insurance, or other form of Federal assistance.

                       FACTS SUPPORTING PROBABLE CAUSE

Introduction and Background on Al-Nusrah Front

      8. The Syrian Arab Republic (“Syria”) has been involved in a civil war since 2011. The
         war resulted in a humanitarian crisis, and the U.S. government has spent more than
         $9.1 billion on humanitarian assistance to conflict-affected Syrians. As described
         further herein, in Idlib, Syria, between 2014 and 2018, at least between $9.3-10.1
         million of that U.S.-funded humanitarian aid was illegally diverted to armed combatant
         groups, including to the designated terrorist organization known as the Al-Nusrah Front
         (“ANF”).

      9. ANF was a terrorist organization based in Syria, which was most directly an extension
         of al-Qaida in Iraq (“AQI”), itself a terrorist organization based in Iraq. “al Qa’ida”
         was an Arabic word that loosely translates as “the Base” and “Al-Nusrah” was an
         Arabic word that loosely translates as “the Support.” Veterans of AQI crossed the
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         border into Syria to join the fighting there and re-organized themselves as ANF. ANF
         used terrorist tactics, such as suicide bombings. ANF’s primary objective was the
         overthrow of the secularist regime of President Bashar al Assad. ANF portrayed itself
         as part of the legitimate Syrian opposition to the al Assad regime, while it was, in fact,
         an attempt to exploit the instability in that country for its own purposes, to include
         establishing a fundamentalist Islamic state in Syria that could serve as a safe haven for
         terrorists. It was known within Syria that ANF committed numerous humanitarian
         atrocities in Syria during the Syrian civil war, to include mass executions of civilians,
         bombings, and kidnappings, and ANF publicly admitted to the same such conduct.

      10. On December 11, 2012, the United States Secretary of State amended its prior
          designation of al Qa'ida as a Foreign Terrorist Organization (“FTO”) under Section 219
          of the Immigration and Nationality Act (INA), and as a Specially Designated Global
          Terrorist (“SDGT”) under section 1(b) of Executive Order 13224, to include ANF as
          an alias. The finding in support of amending the AQI designation was that ANF had
          committed hundreds of terrorist attacks in an attempt to hijack the struggles of the
          Syrian people for its own malign purposes. On May 15, 2014, in response to the
          evolving nature of the relationships between ANF and AQI, the Secretary of State
          separately designated ANF as an FTO and SDGT. During the time relevant to this
          Complaint, ANF was also known by the following aliases: Jabhat al-Nusrah; Jabhet al-
          Nusra; The Victory Front; Al-Nusrah Front for the People of the Levant; Al-Nusrah
          Front in Lebanon; Support Front for the People of the Levant; Jabaht al-Nusra li-Ahl
          al-Sham min Mujahedi al-Sham fi Sahat al-Jihadb; Jabhat Fath al Sham; Jabhat Fath
          al-Sham; Jabhat Fatah al-Sham; Jabhat Fateh al-Sham; Fatah al-Sham Front; Fateh Al-
          Sham Front; Conquest of the Levant Front; The Front for liberation of al Sham; Front
          for the Conquest of Syria/the Levant; Front for the Liberation of the Levant; Front for
          the Conquest of Syria; Hay'at Tahrir al-Sham; Hay’et Tahrir al-Sham; Hayat Tahrir al-
          Sham; Hay’at Tahrir al-Sham; Assembly for the Liberation of Syria; Assembly for
          Liberation of the Levant; Liberation of al-Sham Commission; Liberation of the Levant
          Organisation;, Tahrir al-Sham; and Tahrir al-Sham Hay’at. To date, ANF remains a
          designated FTO and SDGT.

      11. During the time relevant to this Complaint, ANF also operated through subunits or
          affiliates, including Jund al-Aqsa (“JAA”), a terrorist group in northern Syria that
          primarily operated in Idlib and Hama provinces.

      12. In January 2017, the ANF announced that it had merged with four smaller Islamist
          factions to form Hay’at Tahrir al-Sham (HTS). HTS was a vehicle to advance the
          ANF’s position in the Syrian uprising and to further its own goals.

      13. As used in this Complaint, ANF refers to Al Nusra-Front and all its aliases and
          affiliates.

USAID and Humanitarian Relief in Syria

      14. The United States Agency for International Development (“USAID”) was an
          independent federal government agency that received foreign policy guidance from the
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   Secretary of State. USAID was the principal U.S. federal agency that extended
   assistance to countries recovering from disaster, trying to escape poverty, and engaging
   in democratic reforms. USAID worked to support long-term and equitable economic
   growth and advance the United States’ foreign policy objectives by supporting
   economic growth, agricultural development, global health, conflict prevention, and
   development relief. To perform its functions, USAID worked in close partnership with
   private voluntary organizations, indigenous organizations, universities, American and
   foreign businesses, international agencies, other governments, and other U.S.
   government agencies. USAID’s headquarters was located in Washington, D.C.

15. Since 2012, USAID provided cross-border humanitarian assistance to Syrian internally
    displaced persons and other conflict-affected Syrians, including food, non-food items,
    and medical supplies. USAID spent over $4.6 billion on humanitarian assistance
    programs. These programs were contracted to various U.S. and international non-
    governmental organizations (“NGOs”), which were based in countries neighboring
    Syria, including Turkey and Jordan, and were responsible for delivering the U.S.-
    funded aid to the conflict-affected Syrians.

16. USAID’s Office of Foreign Disaster Assistance (OFDA) and Office of Food for Peace
    (FFP) identified geographic and humanitarian needs, and broadly managed and
    oversaw the NGOs’ implementation of the USAID programs. OFDA-related programs
    for northern Syria included the procurement and delivery of hygiene kits, blankets,
    kitchen sets, winter clothing, mattresses, and school supplies for children (generally
    “non-food item kits”) to conflict-affected Syrians. FFP-related programs for northern
    Syria included the procurement and delivery of food kits, food vouchers, and flour for
    distribution (generally “food kits”) to conflict-affected Syrians.

17. NGO-1 is an American non-profit, NGO based in Maryland. An NGO is a nonprofit
    organization independent of governments and international governmental
    organizations, although funded by governments, which aims to improve the lives of
    other people through humanitarian services, among other things.

18. In any one-year period relevant to this Complaint, NGO-1 received benefits in excess
    of $10,000 under a U.S. Federal program involving a grant, contract, subsidy,
    guarantee, or other form of assistance. Specifically, NGO-1 received humanitarian
    foreign aid grant money from USAID, through the aforementioned programs run by
    OFDA and FFP. The USAID awards to NGO-1 were to promote the well-being of
    conflict-affected Syrians. For example, the funds were used to procure non-food item
    kits and food kits, among other things, for conflict-affected Syrian persons. For the
    period of on or about July 30, 2014, through on or about August 31, 2018, USAID
    awarded NGO-1 six cooperative agreements totaling $119,897,431 (“the USAID
    awards”), as follows:




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                       Award Number                 Duration           Amount
                a.     AID-OFDA-A-13-00003-02       7/30/14-10/29/15   $9,197,692

                b.     AID-OFDA-A-15-00041          9/1/15-11/30/16    $8,162,631
                c.     AID-OFDA-A-16-00021          9/1/16-11/30/17    $9,601,719

                d.     AID-OFDA-A-17-00057          8/15/17-11/14/18   $7,178,719
                e.     AID-OFDA-A-17-00057          8/15/17-11/14/18   $37,454,504
                f.     AID-FFP-G-15-00020           2/13/15-10/31/17   $48,242,166



      19. Under the USAID awards, NGO-1 procured non-food items and food from local
          vendors in Turkey, arranged them into the non-food item kits and food kits, and
          transported the kits to Syria for distribution to conflict-affected Syrians. The kits were
          property owned by or under the care, custody, or control of NGO-1.

      20. With USAID, NGO-1 identified certain guidelines to determine which conflict-affected
          Syrians were eligible for kits, including Syrians who had women or children as head of
          household, chronic disease affliction, displacement within the last six months, and low
          income level (hereinafter “beneficiaries”). Based on these guidelines, NGO-1 created
          a list of the beneficiaries to whom its staff in Syria was supposed to distribute the kits.
          For instance, under the guidelines set by USAID and NGO-1, beneficiaries were to
          receive food kits based on their family size, i.e., households with 1-3 family members
          were to receive 1 food kit, households with 4-7 persons were to receive 2 kits, and
          households with more than 7 members were to receive 3 kits. Similar guidelines existed
          for non-food item kits.

      21. Under these guidelines, beneficiaries were required to sign their names on a beneficiary
          log each time they received a kit from NGO-1. These beneficiary logs were then sent
          from Syria to NGO-1’s regional headquarters in Turkey in order to substantiate the
          distribution to conflict-affected Syrians, in accordance with USAID’s requirements.

      22. NGO-1 had various fraud prevention mechanisms in place. Specifically, NGO-1
          instructed its employees to report any fraud in the distribution program to its regional
          headquarters in Turkey. Further, NGO-1 had an internal documentation system through
          which fraud concerns could be documented by NGO-1’s employees and elevated to
          management at NGO-1. NGO-1 also had a hotline phone number available to its
          employees through which they could report fraud or abuse. Due to the remote location
          of NGO-1’s staff in Syria, many Syrian-based NGO-1 employees were unable to utilize
          these fraud prevention mechanisms.

Conspirators

      23. The Defendant, MAHMOUD AL HAFYAN, also known as Abu Abdo Al-Homsi, was
         a Syrian national last known to reside in Gaziantep, Turkey. AL HAFYAN had no
         known residence in any particular state or district of the United States. Relevant to this
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            Complaint, AL HAFYAN was an agent of NGO-1 authorized to act on NGO-1’s
            behalf. Specifically, AL HAFYAN was the head of NGO-1’s regional office in Syria,
            where he managed approximately 160 employees of NGO-1.

      24. Coconspirator 1 was a Syrian national. Coconspirator 1 was an employee of NGO-1
          located at its regional office in Syria. Coconspirator 1 was the Food Security Field
          Coordinator and was responsible for maintaining NGO-1’s warehouse at that office. In
          this role, Coconspirator 1 directly managed several other employees of NGO-1, all of
          whom were involved in distribution of kits from NGO-1’s warehouse. Coconspirator 1
          reported directly to AL HAFYAN.

      25. Coconspirator 2 was a Syrian national. Coconspirator 2 was an employee of NGO-1
          located at its regional office in Syria. Coconspirator 2 was the logistics coordinator at
          NGO-1’s warehouse at NGO-1’s regional office. In this role, Coconspirator 2 oversaw
          the provision of kits from the warehouse to the teams of employees who delivered the
          kits to the Syrian beneficiaries. Coconspirator 2 reported directly to Coconspirator 1.
          Coconspirator 2 was a relative of AL HAFYAN.

Witnesses

      26. Witness 1 was an employee of NGO-1, located at its regional office in Syria. Witness
          1 reported directly to AL HAFYAN. Witness 1 observed AL HAFYAN on a regular
          basis over approximately a three-year period, as well as Coconspirator 1, Coconspirator
          2, and other employees of NGO-1. Witness 1 reported concerns about AL HAFYAN’s
          conduct to NGO-1’s staff in Turkey.

      27. Witness 2 was an employee of NGO-1, located at its regional office in Syria. Witness
          2 reported directly to Coconspirator 1, and thus also to AL HAFYAN. Witness 2
          observed AL HAFYAN, Coconspirator 1, Coconspirator 2, and other employees of
          NGO-1 over approximately a three-year period. Witness 2 had direct knowledge of
          NGO-1’s distribution of kits between July 30, 2014, and February 16, 2018.

      28. It is my opinion that the information provided by Witness 1 and Witness 2, as described
          further herein, including their identifications of AL HAFYAN, Coconspirator 1, and
          Coconspirator 2 are credible. This opinion is based on several factors. I have personally
          interviewed Witness 1 and Witness 2, and both appeared to be providing information
          truthfully and voluntarily. Much of what Witness 1 and Witness 2 stated about AL
          HAFYAN’s actions has been independently corroborated by other evidence, including
          other witnesses who worked for NGO-1, video evidence, NGO-1’s beneficiary logs,
          and evidence on AL HAFYAN’s phone. To the best of my knowledge and belief,
          Witness 1 and Witness 2 have never intentionally provided any material false or
          misleading information to me or any other law enforcement authorities during the
          course of this investigation. Additionally, Witness 1 and Witness 2 are willing to
          continue cooperating with the United States and to testify in the United States, if
          necessary.



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The Conspiracy

     29. Based on information I received during my investigation, I have concluded that there
         is probable cause to believe that from on or about July 30, 2014, through on or about
         February 16, 2018, defendant AL HAFYAN, Coconspirator 1, Coconspirator 2, and
         others known and unknown, in an offense begun and committed in Syria, and elsewhere
         outside the jurisdiction of any particular state or district of the United States, but within
         the extraterritorial jurisdiction of the United States, knowingly combined, conspired,
         confederated, and agreed together and with each other to commit a crime against the
         United States and its agency, USAID, to wit, to embezzle, steal, obtain by fraud, or
         otherwise without authority knowingly convert to the use of another property that was
         owned by, or was under the care, custody, or control of, NGO-1, an organization
         receiving benefits from USAID pursuant to a Federal program involving a grant, a
         contract, a subsidy, a loan, a guarantee, insurance, or another form of Federal
         assistance.

     30. It was part and an object of the conspiracy that AL HAFYAN, Coconspirator 1,
         Coconspirator 2, and others known and unknown, did knowingly provide and attempt
         to provide property in the form of non-food item kits and food kits funded by USAID
         and obtained from NGO-1 to ANF, a designated foreign terrorist organization, and
         other armed combatant groups, which were not eligible to receive the property.

     31. According to Witness 1 and Witness 2, as well as other witnesses I have interviewed
         during the course of the investigation with first-hand knowledge of the events, the
         conspiracy was effected in and by the following manners and means, among others:

             a. AL HAFYAN, Coconspirator 1, Coconspirator 2, and others known and
                unknown, reduced the number of non-food item kits and food kits that NGO-1
                instructed its staff to distribute to conflict-affected Syrians, so as to create a
                surplus of items in NGO-1’s Syrian regional office. Specifically, AL HAFYAN
                and Coconspirator 1 instructed NGO-1’s employees to reduce the number of
                kits provided to the beneficiaries. Coconspirator 2 oversaw the provision of kits
                to the teams of NGO-1’s employees responsible for distribution of the kits to
                Syrian beneficiaries. Coconspirator 2 was observed providing less kits than
                required to comply with NGO-1’s distribution plan. As a result of this scheme,
                NGO-1’s employees, including Witness 1 and Witness 2, observed a surplus of
                kits available in NGO-1’s Syrian regional office’s warehouse.

             b. AL HAFYAN, Coconspirator 1, Coconspirator 2, and others known and
                unknown, distributed the surplus kits to members of ANF, its affiliates, and
                other armed combatant groups operating in the Idlib, Syria, area. Specifically,
                Coconspirator 1 told Witness 2 that the excess kits needed to go to ANF, and
                that AL HAFYAN would also receive a portion of the excess kits.
                Coconspirator 2 told Witness 1 that certain truckloads of kits were excluded
                from distribution, and that Witness 1 should stay away from those truckloads.
                Witness 1 and Witness 2 observed fighters from ANF and other armed
                combatant groups come to NGO-1’s regional office and obtain the surplus kits
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          from NGO-1’s employees at the warehouse. Some of the fighters were armed
          and bearing the flags associated with ANF and other armed combatant groups.
          Coconspirator 1 controlled access to the warehouse and, according to NGO-1’s
          employees, had full knowledge of distributions from the warehouse.

       c. AL HAFYAN communicated with commanders from ANF and other armed
          combatant groups, and personally authorized the diversion of kits to fighters
          from ANF and other armed combatant groups. AL HAFYAN personally
          ordered Witness 2 to provide kits to fighters from ANF and other armed
          combatant groups, including Individual 1. Individual 1 was identified as the
          security commander for ANF by both Witness 1 and Witness 2.

       d. AL HAFYAN threatened NGO-1’s employees with reprisal from commanders
          of ANF and other armed combatant groups if the employees did not go along
          with this scheme. Specifically, Witness 1 heard AL HAFYAN threaten that
          Individual 1, the security commander for ANF, would be told about NGO-1
          employees who failed to follow AL HAFYAN’s orders.

       e. Under directions from AL HAFYAN and others known and unknown, NGO-
          1’s staff in Syria created falsified beneficiary logs, which did not include the
          names of fighters associated with ANF and other armed combatant groups who
          received kits. On these falsified beneficiary logs, NGO-1’s staff forged the
          names of the intended beneficiaries to attest that the beneficiaries in the log had
          received the amount of kits required by NGO-1. Witness 1 personally observed
          the forgery of these logs. The falsified beneficiary logs were sent from NGO-
          1’s regional office in Syria to its office in Turkey, as alleged evidence that the
          intended beneficiaries received the correct amount of kits to which they were
          entitled under the distribution guidelines.

       f. AL HAFYAN ordered NGO-1’s staff to falsify their reports to NGO-1’s
          supervisors at the regional office in Turkey. AL HAFYAN ordered NGO-1’s
          staff in Syria not to report any of the aforementioned diversion conduct to NGO-
          1’s regional office in Turkey. At staff meetings attended by Witness 1, Witness
          2, and other employees, AL HAFYAN threatened NGO-1’s staff that, if they
          reported the aforementioned diversion conduct to supervisors at the regional
          office in Turkey, they would be fired or harmed. Additionally, members of
          NGO-1’s staff who voiced concerns about the scheme to AL HAFYAN were
          subsequently threatened by commanders of ANF and other armed combatant
          groups.

       g. Additionally, at staff meetings attended by Witness 1, AL HAFYAN ordered
          members of NGO-1’s staff to donate portions of their salaries to ANF to support
          ANF’s activities.

32. According to Witness 1 and Witness 2, as well as other witnesses I have interviewed
    during the course of the investigation with first-hand knowledge of the events, AL
    HAFYAN financially benefitted from the scheme and his relationship with ANF and
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   other armed combatant groups. Coconspirator 1 made statements to the witnesses that
   AL HAFYAN received a share of the surplus kits. Witness 1 and Witness 2 observed
   that AL HAFYAN lived a life in excess of what his salary from NGO-1 could afford,
   including building a new home that was more grand than typically affordable for
   someone of his economic status. Additionally, AL HAFYAN displayed loyalty to ANF,
   as well as other armed combatant groups. AL HAFYAN associated with members of
   ANF and other armed combatant groups. In staff meetings attended by Witness 1,
   Witness 2, and other NGO-1 employees, AL HAFYAN referred to ANF and other
   armed combatant groups as “mujahedeen,” meaning they were freedom fighters who
   protected Syria with honor. AL HAFYAN stated that supporting jihadists was more
   important than providing aid to conflict-affected Syrians. AL HAFYAN stated that he
   would support ANF “no matter what.”

33. As part of my investigation, I reviewed the report of a third-party monitor, which was
    hired by USAID to conduct a survey of beneficiaries in one of the villages serviced by
    NGO-1. The third-party monitor interviewed numerous beneficiaries and determined
    that they were given a number of kits below that to which they were entitled under
    NGO-1’s distribution plan. The beneficiaries were not aware of the true number of kits
    they were entitled to receive.

34. As part of my investigation, I reviewed the contents of AL HAFYAN’s cellular
    telephone, which further showed AL HAFYAN’s connection to ANF and other armed
    combatant groups. Listed in the contact list of the cellular phone was the name of
    Individual 2. Next to the name of Individual 2 on the contact list entry were the words
    “Al Nusra Front.”

35. As part of my investigation, I reviewed a Microsoft Excel spreadsheet saved on AL
    HAFYAN’s cellular telephone. The spreadsheet lists names of individuals and the
    “number of kits” distributed to each on specific dates ranging from September 2017 to
    January 2018. Included on this list were:

       a. Individual 1, identified as the security coordinator for ANF, who received 6,843
          food kits and 12,750 bags of flour between September 2017 and January 2018.

       b. Individual 2, identified as a commander for ANF, who received 200 food kits
          from September 25, 2017, to December 9, 2017.

       c. Coconspirator 1, 315 food kits from September 27, 2017, to December 12,
          2017.

36. As part of my investigation, I reviewed translations of voice memorandum audio files
    on AL HAFYAN’s cellular telephone. The voice memorandums were recorded by AL
    HAFYAN and his associates in approximately February 2018, around the time that
    NGO-1 was investigating the diversion of kits. Based on my training and experience, I
    know that individuals in Syria often send voice memorandums back and forth to each
    other as a method of having a phone conversation, due to the inconsistent cellular

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   service in parts of Syria. In certain voice memorandums, AL HAFYAN repeatedly
   discusses kits being provided to ANF fighters.

37. As part of my investigation, I reviewed various documents found on AL HAFYAN’s
    cellular telephone, in which the author of the document purports to pledge their
    allegiance to ANF. Based on my training and experience, I know that individuals often
    sign such documents in order to prove loyalty to the organization and gain access to
    the organization’s benefits, which here would include the distribution of kits. AL
    HAFYAN had approximately seven such documents saved on his cellular phone.

38. As part of my investigation, I reviewed the beneficiary logs sent from NGO-1’s office
    in Idlib, Syria, to its office in Turkey, which purported to document the distribution of
    kits to beneficiaries in four villages in 2015. Approximately 20 boxes of beneficiary
    logs, containing thousands of pages relating to hundreds of beneficiaries, were
    forensically analyzed by a handwriting expert. The expert, after reviewing the
    signatures of purported beneficiaries over an eight or nine month period, opined that
    the signatures of the beneficiaries were inconsistent from month to month and were not
    signed by the same person, and thus evidence that the logs were forged. Additionally,
    I reviewed video that appeared to show NGO-1’s staff forging the beneficiary logs by
    taking turns signing fake signatures on various pages of a log.

39. Based on the above evidence, USAID and NGO-1 estimated the number of kits that
    were diverted from the intended beneficiaries to ANF and other armed combatant
    groups. USAID concluded that approximately 380,000 kits had been diverted. The
    value of each kit varies based on the type of kit, but is typically approximately $25 per
    kit. Based on these figures, USAID and NGO-1 calculated that the estimated loss was
    between approximately $9.3-10.1 million of U.S.-funded aid being diverted away from
    the intended beneficiaries, conflict-affected Syrians, to ANF, other armed combatant
    groups, and themselves during the period of on or about July 30, 2014, through on or
    about February 16, 2018.

40. As part of my investigation, I reviewed a consensual statement given by AL HAFYAN
    to investigators from USAID. Among other things, in that statement, AL HAFYAN
    claimed that he permitted diversion to the armed combatant groups for the “safety” of
    NGO-1’s employees. AL HAFYAN stated that, in 2017, ANF demanded access to the
    food kits and he resisted their demands. AL HAFYAN stated that he was later (in July
    2017) kidnapped by individuals he believed to be affiliate with ANF who demanded a
    portion of the aid. Based on other information I received during my investigation, I
    have reason to doubt the truthfulness of AL HAFYAN’s statement. First, the evidence
    of diversion pre-dates AL HAFYAN’s alleged kidnapping by several years. Second,
    NGO-1’s employees, including Witness 1 and Witness 2, all stated that they believed
    that the alleged kidnapping was a stunt to scare NGO-1’s employees because AL
    HAFYAN was not harmed and was released after a short time, both of which were
    unusual for kidnappings perpetrated by ANF in northern Syria.

41. Based on information I received during my investigation, AL HAFYAN, Coconspirator
    1, Coconspirator 2, and others known and unknown, perpetuated the above scheme and
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           converted the kits to the use of ANF, other armed combatant groups, and themselves
           without authority or consent of NGO-1.

                                         CONCLUSION
       42. There is probable cause to believe that between on or about July 30, 2014, and on or
           about February 16, 2018, in an offense begun and committed in Syria, and elsewhere
           outside the jurisdiction of any particular state or district of the United States but within
           the extraterritorial jurisdiction of the United States, AL HAFYAN, Coconspirator 1,
           Coconspirator 2, and others known and unknown, conspired to commit a crime against
           the United States and its agency, USAID, the object of which was to divert from the
           intended beneficiaries (conflict-affected Syrians) non-food item kits and food kits
           obtained by NGO-1 using funding from the United States, to the ANF and other armed
           combatant groups.

       43. There is probable cause to believe that between on or about July 30, 2014, through on
           or about February 16, 2018, in multiple offenses begun and committed in Syria, and
           elsewhere outside the jurisdiction of any particular state or district of the United States
           but within the extraterritorial jurisdiction of the United States, AL HAFYAN,
           Coconspirator 1, Coconspirator 2, and others known and unknown, being an agent(s)
           of NGO-1, an organization receiving in any one year period between on or about July
           30, 2014, and on or about February 16, 2018, benefits in excess of $10,000 under a
           Federal program involving a grant, contract, subsidy, loan, guarantee, insurance, and
           other form of Federal assistance—that is, the USAID awards—embezzled, stole,
           obtained by fraud, and otherwise without authority knowingly converted to the use of
           any person other than the rightful owner, and intentionally misapplied, property valued
           at more than $5,000 owned by and under the care, custody, and control of NGO-1—
           that is, without authority, AL HAFYAN, Coconspirator 1, Coconspirator 2, and others
           known and unknown diverted non-food item kits and food kits obtained by NGO-1
           from the kits’ intended beneficiaries, Syrian-conflict affected persons, to the ANF,
           other armed combatant groups, and themselves.


        Based on the facts set forth herein, and on my training and experience in investigating cases
involving violations of federal law, and on the information provided by other experienced agents
with whom I have consulted, I submit that there is probable cause to believe that AL HAFYAN
has committed the following offenses: (1) conspiracy to commit a crime against the United States;
and (2) theft concerning programs receiving federal funds.




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        I declare under penalty of perjury under the laws of the United States that the foregoing is
true and correct.
                                                                    Digitally signed by Damien

                                                 Damien Tymes :;,��o,o.os.17,o<Js,40
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                                              Damien T. Tymes
                                              Special Agent
                                              USAID Office of Inspector General


   Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
   telephone, this 19th day of August, 2020.

                                 2020.08.19
                                 17:55:06 -04'00'
   The Honorable G. Michael Harvey
   United States Magistrate Judge




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